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Plaintiff, ’)` :~L;»“}'/,§;, 04
§ W@O’<’$’/Q’/O
v. Cr. No. 05-10032-01-T ' ‘ 03
RAYMOND sAon,
Defendant.
oRDER oN ARRA|GNMENT

 

This cause came to be heard on N|ay 6, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAME: David Camp
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, not having made bond, is remanded to the custody of the U.S. N|arshal.

CS'.'),

S. THON|AS ANDERSON
United States Magistrate Judge

Charges: sexual exploitation of children; possession of visual depictions of minors engaging
in sexually explicit conduct shipped/transported in interstate commerce; aiding and
abetting

Assistant U.S. Attorney assigned to case: Grina|ds

Rule 32 was not waived.

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRch on 5

DISTRIC COURT - WE TRNE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 25 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
May ]0, 2005 to the parties listed.

 

 

David W. Camp

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Honorable J ames Todd
US DISTRICT COURT

